  Case 2:25-cv-00197-JCZ-DPC          Document 146-6      Filed 04/14/25   Page 1 of 1




From: Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent: Sunday, April 13, 2025 11:57 PM
To: eFile-ProSe <eFile-ProSe@laed.uscourts.gov>
Subject: [WARNING: MESSAGE ENCRYPTED]New EDSS Filing Submitted


Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on
Sunday, April 13, 2025 - 23:56.

The information for this submission is:

Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459

Filer's Case Number (If Known): 2:25-cv-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: EXHIBIT F (Submitted under seal)
